
777 So.2d 1229 (2000)
A.J. WALSTON, Surviving Spouse of Patrice Walston
v.
LAKEVIEW REGIONAL MEDICAL CENTER, Dr. Randall Juleff, Dr. Gregory Groglio, and Sherry Foy.
No. 2000-C-2936.
Supreme Court of Louisiana.
December 15, 2000.
Denied.
CALOGERO, C.J., and KNOLL, J., would grant the writ.
LEMMON, J., concurs in the denial of the application. While I agree with plaintiff that a negligent breach of the standard of care may be inferred by the trier of fact without expert medical evidence, plaintiff must produce medical evidence in order to prove causation of the tort victim's death.
